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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

             Plaintiff,
        v.                                          Civil Action No. 22-cv-2292 (CKK/GMH)

 PETER K. NAVARRO,
             Defendant.


                           MEMORANDUM OPINION & ORDER
                                 (November 25, 2024)

       The Court is in receipt of Magistrate Judge G. Michael Harvey’s [52] First Report and

Recommendation (“Report” or “Rep.”) and Defendant Peter K. Navarro’s [54] Objections to the

Magistrate Judge’s Proposed Findings and Recommendations (“Objections” or “Objs.”). The

United States has not objected to the Report or filed a response to Navarro’s Objections, and the

time to file an objection or response has expired. See LCvRs 7(b), 72.3(b). Upon consideration

of the Report and Objections, the relevant legal authority, and the entire record in this case, the

Court agrees with Navarro that there is a jurisdictional defect in the Court’s original referral to

Magistrate Judge Harvey: That referral rested on a Local Rule of Civil Procedure that is not

applicable in the current posture of this case. However, the Court concludes that it may assign

Magistrate Judge Harvey substantially the same duties under a different Local Rule and provision

of the federal statute that confers jurisdiction on magistrate judges. See LCvR 72.1(b)(7); 18

U.S.C. § 636(b)(3). Therefore, although Navarro’s Objections shall be SUSTAINED and the

Court shall not adopt Magistrate Judge Harvey’s Report at this time, the Court shall exercise its

authority under the relevant Local Rule and statutory provision to reassign substantially the same

duties to Magistrate Judge Harvey as the Court assigned in its previous referral. Consistent with


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these rulings, the Court shall direct Magistrate Judge Harvey to review his initial Report, make

any modifications he deems appropriate, and resubmit his Report to the Court pursuant his

authority under this Memorandum Opinion and Order.1 The Court shall also establish a procedure

for the parties to raise objections to Magistrate Judge Harvey’s recommendations.

                                              I. BACKGROUND

          The United States filed this civil action against former White House employee Peter

Navarro to recover certain records that it contends are property of the United States because they

are “Presidential records” within the meaning of the Presidential Records Act of 1978 (“PRA”),

44 U.S.C. §§ 2201–2209. The Court granted summary judgment to the United States, ordered

Navarro to produce a set of Presidential records that he had already identified, and ordered the

parties to meet and confer to discuss how Navarro would identify any additional Presidential

records still in his possession. See United States v. Navarro, 664 F. Supp. 3d 48, 62 (D.D.C. 2023)

(CKK), aff’d, No. 23-5062, 2024 WL 1364354 (D.C. Cir. Apr. 1, 2024); Order and Judgment, ECF

No. 15.

          The parties initially reached an agreement on a proposed search procedure and schedule,

and the Court adopted the parties’ joint proposal. See Joint Status Rep., ECF No. 24; Minute Order

(Apr. 12, 2023). Consistent with the parties’ proposal, the Court ordered Navarro to “complete all

searches for Presidential records on or before May 8, 2023.” Minute Order (Apr. 12, 2023). After

Navarro failed to complete the required searches by this deadline, the Court ordered him to “search

for and identify all Presidential records generated across any and all of his personal accounts on

which he transacted official business” using specified search parameters and to produce “all


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  Because the source of Magistrate Judge Harvey’s jurisdiction to issue recommendations to this Court does not affect
the substantive standards he must apply when reviewing the documents at issue to develop his recommendations, the
Court does not expect that Magistrate Judge Harvey will re-review any individual documents produced by Navarro
that he has already reviewed in response to the Court’s initial referral.

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Presidential records” discovered in those searches to the United States on or before May 26, 2023.

Order, ECF No. 28. The Court also ordered the United States to file a motion to enforce the Court’s

judgment on or before May 31, 2023, if it considered Navarro’s productions in response to the

Court’s orders to be deficient. Id.

       After receiving Navarro’s productions, the United States moved to enforce the Court’s

judgment. See Mot. to Enforce, ECF No. 30. The United States expressed concern that Navarro’s

productions and filings “offer[ed] no reassurance” that his searches had been “sufficient to capture

all PRA materials,” as required by the Court’s order. Id. at 3. It also noted that “the small number

of records produced” raised “questions about the adequacy of [Navarro’s] search and review

procedures.” Id. The Court granted this motion to enforce and ordered Navarro to produce for in

camera review a “random sample” of emails he had identified as non-Presidential records after

searching his email accounts for terms related to his official duties as a White House employee.

See Order, ECF No. 32. The Court also ordered Navarro to file a notice under seal describing the

parameters of the searches he performed to identify these emails. See id.

       The Court then reviewed the sample of emails that Navarro produced. See Mem. Op. and

Order, ECF No. 38. Based on this review, the Court concluded that at least 24% of the emails in

the sample of purportedly non-responsive records that Navarro provided were in fact Presidential

records, making it “clear the [Navarro] continues to possess Presidential records that have not been

produced to their rightful owner, the United States.” Id. at 5. The Court further concluded that

Navarro’s “error rate” in identifying Presidential records in his own searches was “likely

‘unacceptably high.’” Id. (quoting Meeropol v. Meese, 790 F.2d 942, 960 (D.C. Cir. 1986)).

       To effectuate its judgment requiring Navarro to return all Presidential records to the United

States, the Court therefore referred this case to Magistrate Judge G. Michael Harvey “to conduct



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an in camera review of the documents in [Navarro’s] possession, custody, or control that may be

Presidential records . . . and to issue a Report and Recommendation recommending a disposition

as to those records pursuant to LCvR 72.3(a).” Order, ECF No. 43, at 1. To facilitate that review,

the Court ordered Navarro to “lodge with the Chambers of Magistrate Judge Harvey all documents

that prior searches have identified as potential Presidential records,” with specific labels to help

identify each document. Id. Finally, the Court ordered that “Magistrate Judge Harvey shall have

the authority to conduct any proceedings and issue any orders as may be appropriate to aid in

consideration of the issues before him, including but not limited to ordering discovery as

authorized by the Federal Rules of Civil Procedure, taking testimony under oath, requiring

additional briefing, and scheduling.” Id. at 2.

       In accordance with the Court’s Order, Magistrate Judge Harvey has begun reviewing a set

of 1,838 documents sent from or received by one of Navarro’s personal email accounts during his

tenure at the White House. See Rep. at 3–4. Subtracting documents that Navarro had already

produced to the United States and documents that this Court concluded were Presidential records

during its review of a 50-email sample, Magistrate Judge Harvey identified a total of 892

documents requiring review. Id. Based on his review, Magistrate Judge Harvey now recommends

finding that 538 of these documents are not Presidential records. Id. at 4–11. Magistrate Judge

Harvey stated that he intends to address the remaining 354 documents in a separate Report and

Recommendation after further proceedings. See Order, ECF No. 53.

       Navarro then filed timely Objection to Magistrate Judge Harvey’s First Report and

Recommendation. See Objs., ECF No. 54. In his Objections, Navarro contests the validity of

Magistrate Judge Harvey’s “referral by the district court to handle post-judgment proceedings in

this matter” and argues that Magistrate Judge Harvey lacks jurisdiction in this case. Id. at



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                                          II. ANALYSIS

       Navarro argues that this Court’s referral to Magistrate Judge Harvey was improper and that

Magistrate Judge Harvey “lacks the jurisdiction necessary to issue a report and recommendation

in this case” because post-judgment proceedings in aid of the enforcement of a civil judgment are

not among the matters specified in the Local Rule that the Court cited in its initial referral. See

Objs. at 2–3; Order, ECF No. 43, at 1 (citing LCvR 72.3(a)). That Rule provides, in relevant part:

       At the request of the district judge to whom the case is assigned, a magistrate judge may
       conduct hearings, including evidentiary hearings, and submit to the district judge proposed
       findings of fact and recommendations for the disposition of:
       (1)     Prisoner petitions challenging conditions of confinement.
       (2)     Motions for injunctive relief (including temporary restraining orders and
               preliminary injunctions);
       (3)     Motions for judgment on the pleadings, for summary judgment, to dismiss or to
               permit maintenance of a class action, to dismiss for failure to state a claim upon
               which relief can be granted, or otherwise to dismiss an action involuntarily;
       (4)     Motions to set aside default judgments;
       (5)     Petitions for judicial review of administrative determinations; . . .
       (6)     Petitions for civil commitment arising under Title III of the Narcotic Addict
               Rehabilitation Act of 1966, 18 U.S.C. § 4251, et seq.[; and]
       (7)     Motions for attorney fees.

LCvR 72.3(a); see also Fed. R. Civ. P. 72(b) (providing report and recommendation procedure for

“a pretrial matter dispositive of a claim or defense or a prisoner petition challenging conditions of

confinement”). Ultimately, however, the power and jurisdiction of magistrate judges to accept

referrals and issue reports and recommendations arises not from this Local Rule, but from statute.

See 28 U.S.C. § 636(b); Wallace v. Skadden, Arps, Slate, Meagher & Flom, LLP, 362 F.3d 810,

815 n.6 (D.C. Cir. 2004) (noting that LCvR 72.3(a) “sets out . . . those matters a district court may

refer to a magistrate judge for report and recommendation under 28 U.S.C. § 636(b)(1)(B) and

Fed. R. Civ. P. 72”). The relevant statute provides that a district judge may refer any of the

following to a magistrate judge for “proposed findings of fact and recommendations”:
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    •   “[A] motion for injunctive relief, for judgment on the pleadings, for summary judgment,
        to dismiss or quash an indictment or information made by the defendant, to suppress
        evidence in a criminal case, to dismiss or to permit maintenance of a class action, to dismiss
        for failure to state a claim upon which relief can be granted, and to involuntarily dismiss
        an action,”
    •   an “application[] for post[-]trial relief made by individuals convicted of criminal offenses,”
        or
    •   a “prisoner petition[] challenging conditions of confinement.”

See 28 U.S.C. § 636(b)(1)(A)–(B). The statute also provides that a district judge “may designate

a magistrate judge to hear and determine” other “pretrial matter[s] pending before the court”

without issuing a report and recommendation for the district court to review. See 28 U.S.C.

§ 636(b)(1)(A).

        Navarro correctly notes that the specific post-judgment issue on which the Court directed

Magistrate Judge Harvey to issue a report and recommendation—the appropriate disposition of

the records at issue under the PRA—is not among the topics enumerated in this part of the statute.

See Objs. at 2–3; Order, ECF No. 43. Because “a jurisdictional statute . . . must be construed both

with precision and with fidelity to the terms by which Congress has expressed its wishes,” the

Court agrees with Navarro that this mismatch between the topic of the initial referral and the

language of the jurisdictional statute underlying the specific Local Rule that the Court cited

amounts to a jurisdictional defect in the original referral. See Cheng Fan Kwok v. I.N.S., 392 U.S.

206, 212 (1968). Accordingly, the Court shall sustain Navarro’s Objections and terminate the

original referral.

        However, to avoid further delay in this already protracted case, the Court will

simultaneously assign this matter back to Magistrate Judge Harvey under the “additional duties”

clause of 18 U.S.C. § 636(b)(3), which provides that “[a] magistrate judge may be assigned such

additional duties as are not inconsistent with the Constitution and laws of the United States,” and



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Local Rule 72.1(b)(7), which provides essentially the same authority. See LCvR 72.1(b)(7)

(providing that, “[a]t the request of the district judge to whom the case is assigned,” a magistrate

judge has “the duty and power to . . . [p]erform any additional duty not inconsistent with the

Constitution and laws of the United States.”).

       As Navarro acknowledges, see Objs. at 3–4, other courts have concluded that this

“additional duties” clause allows referrals to magistrates for post-judgment proceedings such as

post-judgment discovery or damages calculations. See, e.g., Dist. Title v. Warren, 265 F. Supp.

3d 17, 20 n.3 (D.D.C. 2017) (ABJ) (discovery); F.D.I.C. v. LeGrand, 43 F.3d 163, 168 (5th Cir.

1995) (discovery); Interstate Fire & Cas. Co. v. Washington Hosp. Ctr. Corp., 917 F. Supp. 2d

87, 89 (D.D.C. 2013) (ABJ) (damages), aff’d, 758 F.3d 378 (D.C. Cir. 2014); Callier v. Gray, 167

F.3d 977, 983 (6th Cir. 1999) (damages); see also Gaiters v. City of Catoosa, 226 F. App’x 826,

829 (10th Cir. 2007) (“[A] district court may refer post-judgment matters to a magistrate judge

under the ‘additional duties’ provision of 28 U.S.C. § 636(b)(3), so long as the district judge retains

the ultimate responsibility for decision making.”).

       Navarro correctly notes that it appears to be an open question in this Circuit whether the

broad grant of authority in the “additional duties” clause of 18 U.S.C. § 636(b)(3) allows a

magistrate judge to conduct proceedings and issue a report and recommendation to the district

court regarding post-judgment disputes. See Objs. at 4. This Court concludes, as at least one other

court in this District and several in other Circuits have done, that magistrate judges do have this

power. See Dist. Title, 265 F. Supp. 3d at 20 n.3; see also, e.g., LeGrand, 43 F.3d at 168; Callier

v. Gray, 167 F.3d at 983; Gaiters, 226 F. App’x at 829. Because proceedings in aid of a civil

judgment, like those at issue here, are “matters comparable in importance to those section

636(b)(1) authorizes a magistrate judge to address before trial” and an assignment of such



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proceedings is “‘entirely consistent with a magistrate’s other duties,’” the Court concludes that

ordering Magistrate Judge Harvey to conduct these proceedings under the “additional duties”

clause is proper. See 12 Charles Alan Wright et al., Federal Practice & Procedure § 3068.1 (3d

ed.) (West 2024) (quoting McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 925 F.2d 853,

856 (5th Cir. 1991)) (collecting cases).

       In sum, the Court concludes that although the Local Rule it cited in its initial referral did

not confer jurisdiction on Magistrate Judge Harvey to issue a report and recommendation, other

authorities empower the Court to assign to Magistrate Judge Harvey substantially the same duties

as the Court assigned in its previous referral. The Court shall therefore reassign these duties to

Magistrate Judge Harvey pursuant to those authorities. The Court shall also establish a procedure

for the parties to raise objections to Magistrate Judge Harvey’s recommendations.

                                       III. CONCLUSION

       For the foregoing reasons, the Court hereby SUSTAINS Navarro’s Objections to

Magistrate Judge Harvey’s First Report and Recommendation. The Court’s previous referral to

Magistrate Judge Harvey, dated April 9, 2024, is TERMINATED.

       In place of that referral, the Court ORDERS, pursuant to Local Rule of Civil Procedure

72.1(b)(7) and 18 U.S.C. § 636(b)(3), that Magistrate Judge Harvey shall conduct an in camera

review of the documents that Navarro has produced to his Chambers and issue one or more reports

to the Court recommending findings of fact and conclusions of law regarding whether each of

those documents is a Presidential record as that term is defined by the Presidential Records Act,

44 U.S.C. §§ 2201–2209. Consistent with this Order, Magistrate Judge Harvey shall review his

initial Report, make any modifications he deems appropriate, and resubmit the Report to the Court

pursuant his authority under this Order. Because the source of Magistrate Judge Harvey’s

jurisdiction to issue recommendations to this Court does not affect the substantive standards he
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must apply when reviewing the documents at issue to develop those recommendations, Magistrate

Judge Harvey is not required to re-review any individual documents produced by Navarro that he

has already reviewed in response to the Court’s initial referral.

       The Court further ORDERS that the parties shall file any objections to Magistrate Judge

Harvey’s proposed findings of fact and conclusions of law no later than 14 days after being served

with a copy thereof. Cf. LCvR 72.3(b). The objections shall specifically identify the portions of

the proposed findings and recommendations to which objection is made and the basis for the

objection. Cf. id. Each party shall file any memorandum in opposition to an opposing party’s

objection no later than 14 days after being served with a copy thereof. Cf. LCvR 7(b). If no

opposition is filed, the Court may treat the objection as conceded. Cf. id. Each party shall file any

reply in support of that party’s objection no later than 7 days after being served with a copy of the

opposing party’s memorandum in opposition. Cf. LCvR 7(d). The Court shall review de novo

those portions of Magistrate Judge Harvey’s recommended findings of fact and conclusions of law

to which the parties raise timely objections consistent with this Order. Cf. LCvR 72.3(c).

       The Court further ORDERS that Magistrate Judge Harvey shall continue to have the

authority to conduct any proceedings and issue such orders as may be appropriate to aid in his

consideration of the issues before him, including but not limited to ordering discovery as

authorized by the Federal Rules of Civil Procedure, taking testimony under oath, requiring

additional briefing, and scheduling. See 18 U.S.C. § 636(b)(3); LCvR 72.1(b)(7).



       SO ORDERED.

       Dated: November 25, 2024                         /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge



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